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AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT
District of Columbia

Case Number: 20-1168

Plaintiff:
Ayman Saleh, et al.

VS.

Defendant:
Khalifa Bin Zayed Al Nahyan, et al.

For:

Samuel C. Moore, Esq.

Law Office of Samuel C. Moore, PLLC
526 King Street

Suite 506

Alexandria, VA 22314-3143

Received by Advanced Process Service, Inc. to be served on Sheikh Mohammed bin Zayed Al Nahyan Serve:
Ze-wen Julius Chen, Esq., 7560 Glen Pointe Court, Springfield, VA 22153.

|, Mark Simons, being duly sworn, depose and say that on the 24th day of September, 2021 at 8:59 am, I:

served an AUTHORIZED entity by delivering a true copy of the Summons In A Civil Action, Complaint, Notice
of Right to Consent To Trial Before A United States Magistrate Judge and Notice, Consent, and
RTeference of a Civil Action To A Magistrate Judge with the date and hour of service endorsed thereon by me,
to: Ze-wen Julius Chen as Counsel at the address of: 7560 Glen Pointe Court, Springfield, VA 22153, who
Stated they are authorized to accept service for Sheikh Mohammed bin Zayed Al Nahyan, and informed said
person of the contents therein, in compliance with state statutes.

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in
good standing, in the judicial circuit in which the process was served.

Era feet
Mark Simons
Subscribed and Sworn to before me on the spon” Process Server
day of —?2p77y7 Bee, #262, by the affiant
who is, personally known to me. Advanced Process Service, Inc.
7715 Huntsman Bivd.
Springfield, VA 22153

(703) 451-5555

 
 
   

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